                                                                                  Case 2:20-cv-01371-JAD-EJY Document 32
                                                                                                                      31 Filed 04/15/21
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                                                                                  Attorney for Plaintiff
                                                                              6

                                                                              7                              UNITED STATES DISTRICT COURT

                                                                              8                                       DISTRICT OF NEVADA

                                                                              9   MICHAEL L. TRIGG, an individual;                      Case No.: 2:20-cv-01371-JAD-EJY
                                                                             10                                    Plaintiff;
                                                                             11   v.
Law Office of Kevin L. Hernandez




                                                                             12
                                   TEL: (702) 563-4450 FAX: (702) 552-0408




                                                                                  BBVA USA BANCSHARES, INC., a foreign                     STIPULATION AND ORDER FOR
                                       8872 S. Eastern Avenue, Suite 270




                                                                             13   corporation; PHH MORTGAGE                                 DISMISSAL OF DEFENDANTS
                                                                                  CORPORATION, a foreign corporation;
                                           Las Vegas, Nevada 89123




                                                                                                                                             EXPERIAN INFORMATION
                                                                             14   EQUIFAX INFORMATION SERVICES, LLC, a                   SOLUTIONS, INC. AND TRANS UNION
                                                                                  foreign limited-liability company; EXPERIAN                  LLC WITH PREJUDICE
                                                                             15   INFORMATION SOLUTIONS, INC., a foreign
                                                                                  corporation; TRANS UNION LLC, a foreign
                                                                             16   limited-liability company;
                                                                                                                                                     ECF No. 31
                                                                             17                                    Defendants.
                                                                             18

                                                                             19          Plaintiff, Michael L. Trigg (“Plaintiff”), and Defendants, Experian Information Solutions,
                                                                             20   Inc. (“Experian”), and Trans Union LLC (“Trans Union”) (the “Parties”) have resolved all claims,
                                                                             21   disputes, and differences between the Parties.
                                                                             22          Therefore, the Parties, by and through their respective attorneys of record, and subject to
                                                                             23   the Court’s approval, respectfully request dismissal of the above-captioned matter with prejudice
                                                                             24   ///
                                                                             25   ///
                                                                             26   ///
                                                                             27   ///
                                                                             28   ///

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                                                                              1   under FRCP 41(a) as to Experian and Trans Union, with Plaintiff, Experian and Trans Union

                                                                              2   bearing their own attorneys’ fees and costs incurred in this action.

                                                                              3   Respectfully Submitted.

                                                                              4
                                                                                   Dated: April 8, 2021                             Dated: April 8, 2021
                                                                              5
                                                                                   LAW OFFICE OF                                     NAYLOR & BRASTER
                                                                              6    KEVIN L. HERNANDEZ
                                                                                                                                     /s/ Andrew J. Sharples
                                                                              7    /s/ Kevin L. Hernandez                            Jennifer L. Braster, Esq.
                                                                                   Kevin L. Hernandez, Esq.                          Nevada Bar No. 9982
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                                                                             10    Attorney for Plaintiff                            jbraster@nblawnv.com
                                                                                                                                     asharples@nblawnv.com
                                                                             11
Law Office of Kevin L. Hernandez




                                                                                   Dated: April 8, 2021
                                                                             12                                                      Katherine A. Neben, Esq.
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                                                                                   QUILLING SELANDER LOWNDS                          Nevada Bar No. 14590
                                       8872 S. Eastern Avenue, Suite 270




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                                           Las Vegas, Nevada 89123




                                                                                                                                     3161 Michelson Drive, Suite 800
                                                                             14    /s/ Jennifer Bergh                                Irvine, CA 92612
                                                                                   Jennifer Bergh, Esq.                              kneben@jonesday.com
                                                                             15    Nevada Bar No. 14480
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                                                                             16    Plano, Texas 75024                                Solutions, Inc.
                                                                                   jbergh@qslwm.com
                                                                             17    etijerina@qslwm.com
                                                                                   Attorneys for Trans Union LLC                                         ORDER
                                                                             18
                                                                                                                             And because the dismissal of the claims against these
                                                                                                                                     Based on the Parties’ stipulation [ECF No. 31]
                                                                             19                                              last twoanddefendants
                                                                                                                                          good cause appearing,
                                                                                                                                           Based  on the  parties'ITstipulation
                                                                                                                                                                      IS HEREBY   [ECF
                                                                                                                                     ORDERED that the claims against Defendant
                                                                             20                                                    No.  31] andInformation
                                                                                                                                     Experian   good causeSolutions,
                                                                                                                                                             appearing,     ITare
                                                                                                                                                                         Inc.  IS
                                                                                                                                   HEREBY
                                                                                                                                     DISMISSED ORDERED      that THIS
                                                                                                                                                   with Prejudice,   eachACTION      IS its
                                                                                                                                                                           side bearing
                                                                             21
                                                                                                                                   DISMISSED
                                                                                                                                     own fees andwith  prejudice, each side to bear
                                                                                                                                                   costs.
                                                                             22                                                    its own fees and costs. The Clerk of Court is
                                                                                                                                   directed to CLOSE THIS CASE.
                                                                                                                                     IT IS SO ORDERED:
                                                                             23
                                                                                                                                    ____________________________________
                                                                             24                                                     UNITED STATES DISTRICT JUDGE
                                                                                                                                       _________________________________
                                                                             25                                                        U.S. District
                                                                                                                                    DATED:           Judge Jennifer A. Dorsey
                                                                                                                                            ____________________________
                                                                             26                                                        Dated: April 15, 2021

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